Case 2:03-cr-20181-.]P|\/| Document 36 Filed 04/20/05 Page 1 of 3 Page|D 71

IN THE UNITED sTATEs DISTRICT CoURT F§i_;_ , _LL(L/ _
FoR THE WESTERN I)ISTRICT 0F TENNESSEE
WESTERN I)IVISION 95 ppg 29 pg L, s

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cLEsi/, .s. , . c.
W.e. or TN, escapees

UNITED STATES OF AMERICA )

Plaintiff, §
VS § CR. NO. 03-20181-Ml
TERRY LEE DOWNS §

Defendant. ))

 

""E-X-T-E-N-D-E-D ORDER TO SURRENDER

 

The defendant, Terry Lee Downs, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Memphis SCP,
1101 John A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on *WEDNESDAY.. JUNE ]5. 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
l\/Iemphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the (Cl day Oprrii, 2005.

0de

JO PHIPPS McCALLA
U ITED STATES DISTRICT JUDGE

 

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Thls document entered on the docket sheet fp

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with Ru|e 55 and!or 32(1:)) FRCrP on ff ¢£1 Z;J \=3&

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ACKNOWLEDGMEN'I`

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, i'lne or both.

Signed and acknowledged before me on

 

 

 

Clerk!Deputy Clerk Defendant

UNITED sTATE DRISTIC COUR - WETERN D's'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:03-CR-20181 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

Timothy R. DiScenZa

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Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Honorable J on McCalla
US DISTRICT COURT

